      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 1 of 19




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 MARY WEBB, and GREATER NEW
 ORLEANS FAIR HOUSING ACTION
 CENTER,

        Plaintiffs,                                        COMPLAINT

                v.                                         DEMAND FOR JURY TRIAL

 DICKIE BRENNAN AND COMPANY, LLC;                          Civil Action No. _____________
 SEVEN SIXTEEN IBERVILLE, LLC;
 BRASSERIE, LLC; RICHARD BRENNAN,
 JR.; STEVEN PETTUS; and LAUREN
 BRENNAN BROWER,

        Defendants.


    COMPLAINT FOR DAMAGES, DECLARATORY AND INJUNCTIVE RELIEF
                   AND DEMAND FOR JURY TRIAL

                                    NATURE OF THE ACTION

           1.         This action is brought pursuant to 42 U.S.C. § 1981 and La. Rev. Stat. Ann. §

51:2247 by Mary Webb and the Greater New Orleans Fair Housing Action Center

(“GNOFHAC”) against Dickie Brennan and Company, LLC; Seven Sixteen Iberville, LLC;

Brasserie, LLC; Richard Brennan, Jr.; Steven Pettus; and Lauren Brennan Brower for race

discrimination in public accommodation.

           2.         Each year, over Thanksgiving weekend, the City of New Orleans hosts the

Bayou Classic, a multi-day event centered around a football game between two historically black

universities (“HBCUs”) in Louisiana: Southern University and Grambling State University. For

many African Americans and African-American families, the Bayou Classic is a time-honored

tradition and opportunity for reunion. The Bayou Classic brings over 60,000 individuals to the

City of New Orleans annually.
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 2 of 19




           3.         During the Bayou Classic weekend, three French Quarter restaurants owned,

operated, and managed by Defendants—Dickie Brennan’s Steakhouse, Bourbon House, and

Palace Café—close their doors to the public because of the predominantly African-American

racial composition of the attendees of the Bayou Classic weekend.

           4.         Defendants’ decision to close their doors during the Bayou Classic weekend

adversely affects the experience of Bayou Classic attendees, the overwhelming majority of

whom are African American. Dickie Brennan’s Steakhouse, Bourbon House, and Palace Café

are well-known and well-regarded New Orleans institutions, each with a reputation for providing

a high-class experience to its customers. Moreover, they are situated in the heart of the French

Quarter in areas of extremely high foot traffic, so that their shuttered doors are visible to the

thousands walking by.

           5.         Defendants’ actions during the Bayou Classic weekend stand in stark contrast

to their behavior during the Allstate Sugar Bowl weekend, another popular football-centered

event held on a holiday in New Orleans. Throughout the entire weekend of the Sugar Bowl, as

well as during other well-attended events such as Mardi Gras, Defendants kept their restaurants

open to the public.

           6.         The only appreciable differences between Bayou Classic and the Sugar Bowl

are that the majority of attendees of Bayou Classic are African American while the majority of

attendees of the Sugar Bowl are not, and that the three restaurants close during the weekend

attended mostly by African American individuals and not the weekend attended mostly by white

individuals.

           7.         Plaintiff Mary Webb is an African-American individual who attempted to take

her family to dine at Defendants’ restaurants but could not because they were closed. Plaintiff



                                                  2
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 3 of 19




GNOFHAC is a civil rights organization who investigated the closure of Defendants’ restaurants

and whose mission has been frustrated by Defendants’ discriminatory behavior.

           8.       Defendants’ decision to close their doors during the Bayou Classic weekend

has had the purpose and effect of depriving Plaintiffs of their rights under federal and state law.

Accordingly, Plaintiffs seek declaratory and injunctive relief as well as compensatory and

punitive damages stemming from Defendants’ violations of 42 U.S.C. § 1981 and La. Rev. Stat.

Ann. § 51:2247.

                                 JURISDICTION AND VENUE

           9.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331,

1343(a) and 1367.

           10.      Venue is proper in the Eastern District of Louisiana pursuant to 28 U.S.C.

§ 1391(b)(2) because a substantial portion of the events or omissions giving rise to the claims

occurred in this district. Venue is also proper because all Plaintiffs and Defendants are domiciled

in the state of Louisiana.

                                            PARTIES
A.         Plaintiffs

           11.      The Greater New Orleans Fair Housing Action Center (“GNOFHAC”) is a

private nonprofit civil rights organization organized under the laws of Louisiana and registered

to do business in Louisiana.

           12.      For more than 20 years, GNOFHAC has been dedicated to eradicating

discrimination throughout the state of Louisiana. GNOFHAC has been responsible for fighting

discrimination that has arisen in the wake of Hurricane Katrina and, in recent years, from the

effects of the economic recession. One of GNOFHAC’s goals is the elimination of racial barriers

that deprive African-American citizens of the privileges and burdens of equal civil and

                                                 3
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 4 of 19




constitutional rights in the United States, including the eradication of discrimination in places of

public accommodations.

             13.   Mary Webb is an African-American citizen who resides in New Orleans,

Louisiana.

             14.   On the afternoon of November 28, 2015, Ms. Webb visited Dickie Brennan’s

Steakhouse and Palace Café with the intent to contract with Defendants to purchase food and

beverage from those restaurants. Ms. Webb was denied service at both restaurants.

B.           Defendants

             15.   Dickie Brennan and Company, LLC (“DBC”) is a limited liability company

that is domiciled at 605 Canal Street in New Orleans, Louisiana. Its officers are Richard J.

Brennan, Jr., Steven Pettus, and Lauren Brennan Brower. DBC is authorized to conduct business

in the state of Louisiana.

             16.   DBC is the owner and management company of Dickie Brennan’s

Steakhouse, Bourbon House, and Palace Café, three restaurants located in the French Quarter of

New Orleans, Louisiana. Dickie Brennan’s Steakhouse, Bourbon House, and Palace Café are

places of public accommodation that affect interstate commerce in that they sell food and

beverage that are available to the general public, including members of the public who travel to

New Orleans from out of state.

             17.   Seven Sixteen Iberville, LLC d/b/a Dickie Brennan’s Steakhouse is a

restaurant located 716 Iberville Street in New Orleans, Louisiana. It is a limited liability

company with a domicile of the same address. Its officers are Richard Brennan, Jr., Steven

Pettus, and Lauren Brennan Brower. Seven Sixteen Iberville, LLC is authorized to conduct

business in the state of Louisiana.



                                                  4
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 5 of 19




             18.      Brasserie, LLC is a limited liability company that owns the service mark for

Bourbon House. It is domiciled at 605 Canal Street in New Orleans, Louisiana. Its officers are

Richard J. Brennan, Jr., Steven Pettus, and Lauren Brennan Brower. Brasserie, LLC is authorized

to conduct business in the state of Louisiana.

             19.      Richard Brennan, Jr. is the co-owner and managing partner of Dickie

Brennan’s Steakhouse, Bourbon House, and Palace Café. He is an individual who resides in the

state of Louisiana.

             20.      Steven Pettus is the co-owner and managing partner of Dickie Brennan’s

Steakhouse, Bourbon House, and Palace Café. He is an individual who resides in the state of

Louisiana.

             21.      Lauren Brennan Brower is the co-owner and managing partner of Dickie

Brennan’s Steakhouse, Bourbon House, and Palace Café. She is an individual who resides in the

state of Louisiana.

             22.      As owners, operators, and/or managers of Dickie Brennan’s Steakhouse,

Bourbon House, and Palace Café, Defendants and/or their agents and employees exercise control

over the practices and policies of those restaurants, including those set forth below.

                                    FACTUAL BACKGROUND

A.           Public Accommodations and the Civil Rights Act

             23.      Restaurants, motels, and other places of public accommodation feature

prominently throughout the course of the civil rights movement. From the diner counter sit-ins of

the 1960s to today, the refusal to serve African Americans at restaurants has been a frequent

theme in American history.




                                                   5
       Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 6 of 19




            24.     One particularly malicious form of discrimination too frequently exercised by

operators of public accommodations is to close their doors or otherwise institute highly

restrictive policies during events that cater primarily to African Americans.

            25.     In the early 2000s, for example, multiple places of public accommodation

were sued for the discriminatory provision of services during “Black Bike Week” in Myrtle

Beach, South Carolina. Many establishments closed during Black Bike Week but not Harley

Week, a comparable event attended mostly by white individuals.

            26.     A similar problem was observed in Daytona Beach, Florida, during “Black

College Reunion,” a homecoming event for students and alumni of two historically black Florida

colleges, Bethune-Cookman College and Florida A&M University. During the reunion weekend,

a Daytona Beach hotel required African-American guests to pre-pay for their hotel rooms in full

and to wear bright orange identification wristbands; they were also charged higher rates than

those offered during other special event weekends.

            27.     When discriminatory policies are adopted by a group of establishments within

the same city during an event attended by predominantly African Americans, these actions have

the intent and effect of discouraging African Americans from attending the events or enjoying

the services provided by those establishments when a smaller percentage of African Americans

are visiting the city.

            28.     Such policies of exclusion run counter to businesses’ profitmaking incentives

as well as their obligations under the civil rights statutes to serve the public irrespective of race.

B.          New Orleans is a Tourism-Based City that Caters to Sports and Music-
            Based Events and Festivals

            29.     New Orleans’ tourist industry is the economic backbone of the city. In 2013,

nearly 10 million tourists visited New Orleans and spent over $6.5 billion during their stays.

                                                   6
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 7 of 19




           30.    In particular, one-third of the total revenue generated by the city’s tourism

industry comes from the city’s restaurants. Tourists flock to New Orleans to enjoy the unique

Creole and Cajun cuisines. Approximately 3,000 restaurants are located in New Orleans.

           31.    The French Quarter is the epicenter of the New Orleans tourism and dining

industry. The French Quarter is known throughout the United States as a place to eat, drink,

listen to music, and party. With hundreds of popular, heavily frequented restaurants in the

neighborhood, the French Quarter is a significant part of New Orleans’ restaurant industry.

           32.    New Orleans hosts many sporting events and festivals throughout the calendar

year. These events often coincide with long weekends or national holidays. For example, on New

Year’s Day, New Orleans hosts the Allstate Sugar Bowl; in February, it celebrates Mardi Gras;

over the Independence Day weekend, it hosts the Essence Music Festival; over Halloween, it

hosts the Voodoo Music and Arts Experience; and over Thanksgiving, it hosts the Bayou Classic.

           33.    Two weekends involving football-related festivities are Bayou Classic, which

features a football game that is attended by a predominantly African-American crowd, and the

Allstate Sugar Bowl, which features a football game that is attended by a predominantly white

crowd.

                   a.     The Bayou Classic

           34.    The Bayou Classic is an annual part-festival, part-football event that has been

held in New Orleans since the early 1970s.

           35.    The Bayou Classic football game features two historically black universities

in Louisiana, Southern University and Grambling State University. Southern University is

located in Baton Rouge, Louisiana, and Grambling State is located in Grambling, Louisiana. The

fierce rivalry between Southern and Grambling dates back to the 1930s, and the annual football


                                                7
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 8 of 19




game is an opportunity for students and alumni of those HBCUs to come together to compete

and to enjoy each other’s social company.

           36.     The Classic, however, isn’t just a football game. It has been described as a

multi-day “extravaganza, where the HBCU community congregates in the name of football,

common culture, music, and most important, tradition.” The Classic is an opportunity to

showcase and celebrate “racial and athletic pride,” tradition, heritage, and a sense of

“togetherness.”

           37.     For example, the Bayou Classic kicks off with career fairs and college expos

as well as summits regarding African-American economic and business development. The

weekend features a Thanksgiving Day parade, a Greek Step Show competition, vendor displays,

and the famous Battle of the Bands between the schools’ marching bands.

           38.     In 1990, the game moved to the New Orleans Superdome, where it has played

each year except 2005. Dottie Belletto, President of the Orleans Convention Company, Inc.,

credits the Bayou Classic as “one of the three pillars that built what the Superdome is known for

today.”

           39.     Indeed, the Bayou Classic weekend is a large source of tourism and revenue

for New Orleans. The game attracts thousands of students and alumni from outside of New

Orleans. In 2014, approximately 60,000 people attended the game. Mark Roming, President and

CEO of the New Orleans Tourism and Marketing Corporation, touted the importance of the

Bayou Classic to New Orleans economy, claiming that it is “one of the major kick off events for

our holiday season.”

           40.     The dates of the past three Bayou Classics have been: November 30, 2013;

November 29, 2014; and November 28, 2015.



                                                 8
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 9 of 19




            41.   The attendees of the Bayou Classic weekend are overwhelmingly African-

American.

            42.   The student body of the two HBCUs featured in the Bayou Classic is also

overwhelmingly African American. Southern University’s student body is 92% African

American. Grambling is 91% African American.

                  b.     The Sugar Bowl

            43.   On New Year’s Day, New Orleans hosts another annual college football

competition: the Sugar Bowl. In 2006, Allstate Insurance became a title sponsor of the event, and

the game changed its official name to the Allstate Sugar Bowl.

            44.   Unlike the Bayou Classic, which always features Southern and Grambling,

Sugar Bowl competitors are selected based on rankings among NCAA Division I football teams.

            45.   The past four Sugar Bowls have featured the following match-ups: University

of Louisville versus University of Florida (2013); University of Oklahoma versus University of

Alabama (2014); Ohio State University versus University of Alabama (2015); and University of

Mississippi versus Oklahoma State University (2016).

            46.   In 2016, the Sugar Bowl attracted 72,117 fans, 40,000 of whom were from

outside the New Orleans area.

            47.   The Sugar Bowl’s history is inextricably linked with segregation and racial

discrimination. Until the 1950s, Bowl organizers refused to allow African-American players to

participate. White Southerners demanded that visiting teams from the North conform to Jim

Crow segregation laws and refused to allow teams to field African Americans. If a northern team

included African-American players on its roster, Bowl organizers forced the team to agree to

withhold them from the contest.


                                               9
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 10 of 19




            48.     In 1956, after the Bowl featured its first-ever integrated team, University of

Pittsburgh, the state legislature passed legislation to re-segregate the Sugar Bowl. The Sugar

Bowl remained a segregated event until the Supreme Court struck down segregation laws in

sports in 1958 and segregated seating laws in 1964.

            49.     However, integration on the field did not end racial controversy surrounding

the Sugar Bowl. In 1972, University of Oklahoma players complained that African-American

women were largely excluded from the social events held for the teams. In 1973, a New Orleans

civil rights group threatened to picket the game unless the Mid-Winter Sports Association

diversified its leadership.

            50.     Indeed, the Sugar Bowl continues to draw a noticeably different demographic

to the New Orleans than the Bayou Classic. Of the five teams that have competed most

frequently—University of Georgia, University of Florida, University of Mississippi, University

of Alabama, and Louisiana State University—all except the University of Florida have a student

body that is over 70% white. Black or African-American students represent less than 15% of the

student body at each of the five schools.

            51.     In contrast to attendees of the Bayou Classic weekend, the attendees of the

Sugar Bowl are predominately white.

C.         Defendants Were Closed During the Bayou Classic and Were Open During the
           Sugar Bowl

            52.     Dickie Brennan’s Steakhouse, Bourbon House, and Palace Café are three

well-known restaurants located in the heart of the French Quarter.

            53.     Dickie Brennan’s Steakhouse, located at 716 Iberville Street, New Orleans,

LA, has been a French Quarter institution for over 60 years. Known for its upscale, white-




                                                 10
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 11 of 19




tablecloth service, the Steakhouse features six private rooms and a sweeping dining room and

bar. It has been listed as one of the top 20 steakhouses in the United States.

           54.     Bourbon House, located at 144 Bourbon Street, New Orleans, LA, touts itself

as New Orleans’ premier oyster bar and seafood restaurant. On the corner of the popular

intersection of Bourbon and Iberville Streets, Bourbon House serves classic Creole dishes and

small batch bourbon.

           55.     Palace Café, located at 605 Canal Street, New Orleans, LA, in the historic

Werlein’s music building, is known for its contemporary Creole food. Since opening in 1991,

Palace Café has won a number of local and national awards, including “Best New Restaurant”

from Esquire Magazine and USA Today.

           56.     All three restaurants are located on some of the busiest streets in the French

Quarter. On any given night—but especially when the city hosts a festival or football game—the

streets are crowded with visitors and regulars looking for a place to eat, drink and socialize.

Restaurants are often filled to capacity with people waiting in line for tables.

           57.     Nevertheless, guests seeking to purchase food and beverages at Dickie

Brennan’s Steakhouse, Bourbon House, and Palace Café during the Bayou Classic weekends of

2014 and 2015 were denied the ability to enjoy these privileges and services because these

restaurants closed during the Bayou Classic weekends in those years.

           58.     Defendants’ behavior stood in marked contrast to their behavior during the

corresponding Sugar Bowls held less than two months later and on similar holiday weekends.




                                                 11
     Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 12 of 19




                  a.     Dickie Brennan’s Steakhouse

           59.    Dickie Brennan’s Steakhouse closed its doors to the public during the Bayou

Classic weekend in both 2014 and 2015; however, it remained open during the entire duration of

the Sugar Bowl weekends held just one month later.

           60.    During the 2014 Bayou Classic weekend, Dickie Brennan’s Steakhouse was

closed on Friday, November 28, 2014; was closed on Saturday, November 29, 2014; and was

closed for most of the day on Sunday, November, 30, 2014.

           61.    In contrast, during the 2015 Sugar Bowl, Dickie Brennan’s Steakhouse was

open on Wednesday, December 31, 2014; was open on Thursday, January 1, 2015; and was open

on Friday, January 2, 2015.

           62.    During the 2015 Bayou Classic weekend, Dickie Brennan’s Steakhouse was

closed on Friday, November 27, 2015; was closed on Saturday, November 28, 2015; and was

closed on Sunday, November 29, 2015.

           63.    In contrast, during the 2016 Sugar Bowl weekend, Dickie Brennan’s

Steakhouse was open on Thursday, December 31, 2015; was open on Friday, January 1, 2016;

and was open on Saturday, January 2, 2016.

                  b.     Bourbon House

           64.    Bourbon House closed its doors to the public during the Bayou Classic

weekend in both 2014 and 2015; however, it remained open during the entire duration of the

Sugar Bowl held just one month later.

           65.    During the 2014 Bayou Classic weekend, Bourbon House was closed on

Saturday, November 29, 2014 and was closed on Sunday, November 30, 2014.




                                              12
     Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 13 of 19




           66.     In contrast, during the 2015 Sugar Bowl, Bourbon House was open on

Wednesday, December 31, 2014; was open on Thursday, January 1, 2015; and was open on

Friday, January 2, 2015.

           67.     During the 2015 Bayou Classic weekend, Bourbon House was closed on

Saturday, November 28, 2015 and was closed on Sunday, November 29, 2015.

           68.     In contrast, during the 2016 Sugar Bowl weekend, Bourbon House was open

on Thursday, December 31, 2015; was open on Friday, January 1, 2016; and was open on

Saturday, January 2, 2016.

                   c.      Palace Café

           69.     During the 2015 Bayou Classic weekend, Palace Café was closed on Friday,

November 27, 2015; was closed on Saturday, November 28, 2015; and was closed on Sunday,

November 29, 2015.

           70.     In contrast, during the 2016 Sugar Bowl weekend, Palace Café was open on

Thursday, December 31, 2015; was open on Friday, January 1, 2016; and was open on Saturday,

January 2, 2016.

           71.     Defendants’ actions also stand in marked contrast with their actions during the

largest annual New Orleans event, Mardi Gras. Dickie Brennan’s Steakhouse and Bourbon

House stayed open during the entirety of Mardi Gras weekend in 2015 (February 13 through 15).

           72.     Notably, in 2015, Dickie Brennan’s Steakhouse and Bourbon House both

remained open on Thanksgiving Day, but then closed their doors on the immediate Saturday

following Thanksgiving (the day of the Bayou Classic football game).




                                               13
     Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 14 of 19




            73.    Defendants have maintained discriminatory practices and policies that are

intended to discriminate against Bayou Classic attendees, who are predominantly African

American.

            74.    Defendants’ decision to close Dickie Brennan’s Steakhouse, Bourbon House,

and Palace Café during the Bayou Classic—in contrast to their decision to keep the restaurants

open during the Sugar Bowl—was made on the basis of the race of the attendees of the annual

event.

            75.    Defendants’ discriminatory practices and policies also have the effect of

discriminating against Bayou Classic attendees, who are predominantly African American.

            76.    Upon information and belief, the discriminatory policies and practices of

Defendants have been carried out under the direction, and with the full knowledge and consent,

of its owners and managers. The agents and employees who have carried out the discriminatory

policies and practices have been acting within the scope of their regular authority as agents and

employees.

            77.    All three restaurants are well-regarded and well-respected in the New Orleans

dining scene. Defendants’ choice to implement a policy of discrimination encourages similar

conduct by other entities, thereby amplifying the harm of the discrimination.

D.          Plaintiff Mary Webb

            78.    Mary Webb is an African-American resident of New Orleans, Louisiana. Ms.

Webb, who was born and raised in New Orleans, is a middle school teacher.

            79.    On November 28, 2015, Ms. Webb attended the Bayou Classic festivities

along with her mother and her 7-year old daughter. Ms. Webb had visited the Bayou Classic




                                                14
     Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 15 of 19




festivities many times in the past. Ms. Webb attended the Bayou Classic in 2015 in part as her

role as a volunteer investigator for GNOFHAC.

           80.    On November 28, 2015, Ms. Webb and her family attempted to dine at Palace

Café and Dickie Brennan’s Steakhouse with the intent to purchase food and beverages.

           81.    Ms. Webb had frequented both establishments in the past, including Dickie

Brennan’s Steakhouse the previous year and Palace Café sometime before that. She looked

forward to being able to once again enjoy one of the restaurants with her family during Bayou

Classic.

           82.    However, Ms. Webb and her family were unable to purchase food and drink

from Palace Café and Dickie Brennan’s Steakhouse because both restaurants were closed.

           83.    Ms. Webb believed that both restaurants were closed during the Bayou Classic

because of the race of the attendees. Ms. Webb had numerous conversations with her mother,

daughter, and others about Defendants’ discrimination.

           84.    As a result of Defendants’ discrimination, Ms. Webb purchased food and

beverages at another restaurant in the French Quarter that remained open.

           85.    As a direct and proximate result of Defendants’ discriminatory practices

described above, Mary Webb has suffered and will continue to suffer great irreparable loss and

injury including but not limited to humiliation, embarrassment, emotional distress, mental

anguish, and a deprivation of the rights to make and enforce contracts on the same basis as a

white person.

E.         Plaintiff GNOFHAC

           86.    GNOFHAC has received multiple complaints from New Orleans visitors and

residents regarding discrimination against African-American visitors to French Quarter


                                               15
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 16 of 19




restaurants during Bayou Classic and other festivals attended by predominantly African-

American individuals.

           87.     In response to those complaints, GNOFHAC began monitoring and

investigating the treatment of African Americans in the New Orleans area during Bayou Classic

and other such events. GNOFHAC also monitored the treatment of African Americans during

predominantly white events, such as the Sugar Bowl, as a means to compare treatment of similar

individuals during similar events with crowds of significantly different racial compositions.

           88.     GNOFHAC’s investigation and monitoring have continued through the

present. Defendants’ actions have required, and will require, GNOFHAC to spend additional

resources to counteract Defendants’ discriminatory conduct.

           89.     As a direct and proximate result of Defendants’ discriminatory practices,

GNOFHAC has suffered and will continue to suffer a diversion of its resources and a frustration

of its mission.

           90.     GNOFHAC has been damaged by having to divert scarce resources to identify

and investigate Defendant’s discriminatory practices. GNOFHAC launched an investigation into

the actions of these restaurants during four annual weekend events and festivals, including Bayou

Classic and the Sugar Bowl. The investigation required GNOFHAC to expend staff time and

incur expenses, including but not limited to: (1) monitoring and investigating the actions of New

Orleans restaurants during four weekends; (2) analyzing the testing results; (3) utilizing

professional and administrative support as well as volunteer time; and (4) paying for out-of-

pocket expenditures that resulted from the investigation.

           91.     If Defendants had not engaged in this discrimination, GNOFHAC would have

spent those resources on other activities consonant with its mission, including testing



                                                16
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 17 of 19




investigations of lending institutions, testing investigations of housing providers suspected of

discrimination, a testing audit regarding discrimination against LGBT individuals, and more.

            92.    Defendants’ actions have also frustrated the mission and purpose of

GNOFHAC. Part of GNOFHAC’s mission is to fight segregation, ignorance, fear and hatred by

working to eradicate housing and public accommodation discrimination throughout the state of

Louisiana. Defendants’ practice of closing during predominantly African-American weekend

festivals directly impedes GNOFHAC’s efforts—both in educating the public on their public

accommodation rights and also in preventing discriminatory decision-making by public

accommodation providers.

                                     CAUSES OF ACTION

                                            Count I
                            42 U.S.C. § 1981 (Plaintiff Mary Webb)

            93.    Plaintiffs reallege and incorporate by reference all of the allegations set forth

in Paragraphs 1 through 92 above.

            94.    Plaintiff Mary Webb is African American. Ms. Webb met Defendants’

standard requirements for dining in their restaurants.

            95.    Plaintiff Mary Webb sought to enter into a contract with Defendants to enjoy

their services.

            96.    Defendants’ actions as described above have denied Plaintiff Mary Webb the

rights that are available to guests outside the protected class. Defendants’ conduct constitutes a

deprivation of the right to make and enforce contracts as is enjoyed by white citizens of the

United States, including the making, performance, and modification of contracts, and the

enjoyment of all benefits, privileges, terms, and conditions of the contractual relationship in

violation of 42 U.S.C. § 1981.

                                                 17
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 18 of 19




                                           Count II
                 LA. Rev. Stat. Ann. § 51:2247 (Mary Webb and GNOFHAC)

           97.     Plaintiffs reallege and incorporate by reference all of the allegations set forth

in paragraphs 1 through 92 above.

           98.     Defendants’ actions as described above have and have had the purpose and

effect of denying Plaintiffs the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, and accommodations of Defendants on the basis of race in violation of

La. Rev. Stat. Ann. § 51:2247.

           99.     Defendants’ actions, including their policy to close during the Bayou Classic

weekend, have had an adverse impact on the ability of African Americans to engage in a full and

equal enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of

Defendants on the basis of race in violation of La. Rev. Stat. Ann. § 51:2247.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray that the Court grant the following relief:

           1. enter a declaratory judgment finding that the actions of Defendants alleged in this

Complaint violated 42 U.S.C. § 1981 and La. Rev. Stat. Ann. § 51:2247;

           2. enter a permanent injunction barring Defendants from continuing to engage in the

illegally discriminatory conduct alleged in this Complaint;

           3. enter a permanent injunction directing that Defendants take all affirmative steps

necessary to remedy the effects of the illegally discriminatory conduct alleged in this Complaint

and to prevent repeated occurrences in the future;

           4. award compensatory damages to each Plaintiff in an amount that would fully

compensate Plaintiffs for the humiliation, embarrassment, emotional distress, mental anguish,



                                                 18
      Case 2:16-cv-16548-LMA-JCW Document 1 Filed 11/22/16 Page 19 of 19




diversion of resources, frustration of mission, and out-of-pocket costs caused by Defendants’

conduct as alleged herein;

            5. award punitive damages in an amount that would punish Defendants for the

willful, wanton and reckless misconduct alleged in this Complaint and that would effectively

deter Defendants from future discriminatory behavior;

            6. award Plaintiffs their reasonable attorneys’ fees and costs; and

            7. order all other relief deemed just and equitable by this Court.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a jury trial on all claims so triable as

of right.


Dated: November 22, 2016

Respectfully submitted,


 ________________________________                      ___________________________________
 Alexander Sascha Bollag                               Reed N. Colfax (T.A.) (Motion for admission
 Attorney ID No. 34447                                 pro hac vice to be filed)
 Elizabeth Owen                                        Tara K. Ramchandani (Motion for admission
 Attorney ID No. 33620                                 pro hac vice to be filed)
 GREATER NEW ORLEANS FAIR HOUSING                      Yiyang Wu (Motion for admission pro hac
 ACTION CENTER                                         vice to be filed)
 404 S. Jefferson Davis Pkwy                           RELMAN, DANE & COLFAX PLLC
 New Orleans, LA 70119                                 1225 19th Street NW, Suite 600
 Tel: 504-596-2100                                     Washington, DC 20036
 Fax: 504-602-9857                                     Tel: 202-728-1888
 E-mail: sbollag@gnofairhousing.org                    Fax: 202-728-0848
         eowen@gnofairhousing.org                      E-mail: rcolfax@relmanlaw.com
                                                                tramchandani@relmanlaw.com
                                                                ywu@relmanlaw.com




   Attorneys for Plaintiffs Mary Webb and Greater New Orleans Fair Housing Action Center

                                                 19
